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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION
Case No. 05-30027
Chapter 11
In Re:
ORDER APPROVING STIPULATION FOR
SI TANKA UNIVERSITY ADEQUATE PROTECTION

Debtor.

 

This matter is before the Court based upon United States’ Motion for Approval of the
Stipulation for Adequate Protection between the Debtor and the United States. Notice was
provided to the parties of interest and no objections were timely filed. Accordingly, it is hereby

ORDERED that the stipulation entered into between the Debtor and the United States

which was filed on August 26, 2005, is approved and incorporated herein as if set out in full.

Dated this PO. day of Ssplew Le? 2008

 

BY THE COURT:
InvinN. Hoyt 7 \_7

United States Bankruptcy Judge

thereby certify that a copy of this document was elec-
tronically transmitted, mailed, hand delivered or faxed

this date to the parties on the attached service list. NOTICE OF ENTRY
SEP 20 2005 Page -1- Entered
Charles L, Nail, Jr., Clerk SEP 20 2005

U. Tuptcy Court, District of South Dakota
By,

 

Charles L. Nail, Jr., Clerk
U.S. Bankruptcy Court
District of South Dakota

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